     Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 1 of 32




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                         GALVESTON DIVISION

TERRY PETTEWAY, THE                   §
HONORABLE DERRICK ROSE,               §
MICHAEL MONTEZ, SONNY                 §
JAMES and PENNY POPE,                 §
                                      §
                   Plaintiffs,        §    Civil Action No. 3:22-cv-57
                                      §
v.                                    §
                                      §
GALVESTON, TEXAS, and                 §
HONORABLE MARK HENRY, in              §
his official capacity as Galveston    §
County Judge,                         §
                                      §
                   Defendants.        §
                                      §
UNITED STATES OF AMERICA,             §
                                      §
                   Plaintiff,         §
                                      §
v.                                    §
                                      §    Civil Action No. 3:22-cv-93
GALVESTON, TEXAS,                     §
GALVESTON COUNTY                      §
COMMISSIONERS COURT, and              §
HONORABLE MARK HENRY, in              §
his official capacity as Galveston    §
County Judge,                         §
                                      §
                   Defendants.        §
                                      §


Dickinson Bay Area Branch NAACP,      §
GALVESTON BRANCH NAACP,               §
MAINLAND BRANCH NAACP,                §
GALVESTON LULAC COUNCIL               §
151, EDNA COURVILLE, JOE A.           §
COMPIAN, and LEON PHILLIPS,           §    Civil Action No. 3:22-cv-117
     Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 2 of 32




                                        §
                   Plaintiffs,          §
                                        §
v.                                      §
                                        §
GALVESTON, TEXAS,                       §
HONORABLE MARK HENRY, in                §
his official capacity as Galveston      §
County Judge, and DWIGHT D.             §
SULLIVAN, in his official capacity as   §
Galveston County Clerk                  §
                                        §
                   Defendants.          §
                                        §



           PETTEWAY PLAINTIFFS’ RESPONSE IN OPPOSITION
                TO DEFENDANTS’ MOTION TO DISMISS




                                        ii
        Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 3 of 32




                                              TABLE OF CONTENTS
INTRODUCTION ............................................................................................................... 1
FACTUAL BACKGROUND ............................................................................................. 1
LEGAL STANDARD ......................................................................................................... 3
LEGAL ARGUMENT ........................................................................................................ 4
   I.    Plaintiffs Sufficiently Plead this Court’s Subject Matter Jurisdiction ..................... 4
         a. Plaintiffs’ Allege Justiciable Racial Discrimination Claims .............................. 4
         b. The Appointment of Dr. Robin Armstrong Does Not Moot Plaintiffs’
            Claims ................................................................................................................. 7
   II. Plaintiffs Sufficiently Allege that they Have Standing to Assert Claims Under
       the Voting Rights Act ............................................................................................... 8
         a. Plaintiffs’ Allege Justiciable Racial Discrimination Claims .............................. 9
         b. Plaintiffs Have Standing to Sue on Behalf of the Black and Latino Coalition 10
         c. Plaintiff Montez Has Standing .......................................................................... 12
   III. Plaintiffs Sufficiently Allege Intentional Racial Discrimination Under the
        Fourteenth and Fifteenth Amendments and the Voting Rights Act ....................... 13
         a. The Commissioners Court Plan is Intentionally Discriminatory ...................... 15
         b. The Fifteenth Amendment Prohibits Intentional Racial
            Discrimination................................................................................................... 21
   IV. Plaintiffs Sufficiently Allege that Commissioner Precinct 3 is Racially
       Gerrymandered ....................................................................................................... 22
         a. The Commissioners Court Plan is a Racial Gerrymander ................................ 22
         b. Plaintiffs’ Racial Gerrymandering Claim Satisfies the Notice Pleading
            Standard ............................................................................................................ 25
CONCLUSION ................................................................................................................. 28
CERTIFICATE OF SERVICE .......................................................................................... 29




                                                                 i
     Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 4 of 32




                                    INTRODUCTION
       In their Motion to Dismiss, Defendants attempt to both recast Plaintiffs’ well-

pleaded factual allegations and invert the standard for a motion to dismiss. As Defendants’

fail to satisfy their burden under Rule 12, their motion should be denied.

                               FACTUAL BACKGROUND
       This is an action under Section 2 of the Voting Rights Act (“VRA”), 52 U.S.C.

§ 10301, as well as the Fourteenth and Fifteenth Amendments, challenging the November

13, 2021 adoption of the Galveston County Commissioners Court map. See Second

Amended Complaint, ECF No. 42 (“SAC”). Plaintiffs Terry Petteway, the Honorable

Derrick Rose, Sonny James, Penny Pope, and Michael Montez are all Black or Latino

voters and residents of Galveston County. Id. at ¶¶ 12-31. Defendants are Mark Henry, in

his official capacity as Galveston County Judge, and Galveston County, both of whom are

responsible for drawing the districts for the Galveston County Commissioners Court. Id. at

¶¶ 32-33.

       Plaintiffs allege that Defendants engaged in intentional racial discrimination against

Black and Latino voters resulting in the adoption of the discriminatory Commissioners

Court map at issue. See, e.g., id. at ¶¶ 1-7. In 2011, Defendants sought to eliminate the sole

minority opportunity district on the Galveston County Commissioners Court by adopting

a plan that dismantled Precinct 4 as a performing opportunity district for minority voters

and converting it into a district controlled by Anglo voters. Id. at ¶¶ 35, 42.

       As Galveston County was subject to preclearance under Section 5 of the VRA, the

Department of Justice (“DOJ”) had to approve the adopted map. Id. at ¶ 36. The DOJ


                                              1
     Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 5 of 32




refused to preclear the plan, finding that invidious racial discrimination imbued Galveston

County’s redistricting process. The DOJ specifically identified the lack of meaningful

public input, “the deliberate exclusion from meaningful involvement in key deliberations

of the only member of the commissioners court elected from a minority ability-to-elect

precinct,” and the decision to adopt a retrogressive map that was “neither required nor

inevitable,” as factors informing its decision. Id. at ¶¶ 37-46. After DOJ rejected the plan,

Defendants negotiated a map, the Benchmark Plan, which maintained Precinct 3 as an

opportunity district. See id. at ¶¶ 37-46. The Benchmark Plan included Precinct 3, where

Black and Latino voters form a majority of the voting age population and can elect their

candidate of choice for County Commissioner. Id. at ¶¶ 56, 60.

       After the 2020 census, Defendants planned to redistrict the precincts for the

Galveston County Commissioners Court. See SAC ¶¶ 47, 51. The 2020 Census revealed

that the Benchmark Plan was malapportioned but could be balanced through shifting one

voting district while still maintaining Precinct 3 as an opportunity district. See id. at ¶¶ 63-

64. However, as they previously tried in 2011, Defendants instead adopted a map which

dismantled Precinct 3 as an opportunity district. Defendants proposed two plans, both of

which deviated substantially from the Benchmark Plan. Id. at ¶¶ 64, 74-75. Proposed Map

2, ultimately adopted by Defendants, dismantled Precinct 3 as an opportunity district by

cracking predominately Black and Latino voting districts and spreading them across all

four precincts. Id. at ¶¶ 65-66, 75. As in 2011, this proposal dismantled Precinct 3 as an

opportunity district. Id. at ¶¶ 35, 42, 75. These maps were released to the public merely

days before the first and only public hearing regarding Defendants’ proposals. Id. at ¶ 70;

                                               2
     Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 6 of 32




Defs.’ Mot. to Dismiss at 6-7, ECF No. 46 (“Mot.”).

       On November 12, 2021, Defendants held the first and only public hearing on the

proposed plans. SAC at ¶¶ 76, 84. The hearing was held in the middle of the day, three

days before the proposed plans were released, and one day before Texas’s mandated

deadline for submitting county redistricting plans. Id. at ¶¶ 84-85; Mot. at 7. Defendants

crammed the public into a room flowing out of doors on both sides of the room and

threatened to remove members of the public who “made noise” during the hearing. SAC at

¶¶ 92-94. Residents spoke at length during the hearing about the racially discriminatory

results that would arise if Map 2 were adopted. Id. at ¶ 79. As in 2011, Commissioner

Holmes—the incumbent candidate of choice for Black and Latino voters—alleged at the

public meeting that he was not allowed input into the 2021 redistricting process, and that

no timeline for redistricting nor opportunities for public input were proposed by

Defendants. See id. at ¶¶ 98-100. Though Commissioner Holmes presented two other maps

that would have maintained Precinct 3 as an opportunity district, neither of those maps

were brought to a vote at the public meeting. Id. at ¶¶ 101-102. Proposed Map 2 (the

“Enacted Plan”) was adopted at the meeting, guaranteeing that Black and Latino voters

would no longer be able to elect their candidate of choice in elections for Commissioners

Court for the next decade. E.g., id. at ¶¶ 78, 106.

                                   LEGAL STANDARD
       Under Rule 12(b)(6), a complaint “does not require detailed factual allegations,” but

it must “contain sufficient factual matter, accepted as true, to state a claim to relief that is

plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The court must accept

                                               3
      Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 7 of 32




the plaintiff’s well-pleaded facts as true and view them in the light most favorable to the

plaintiff. Sonnier v. State Farm Mut. Auto. Ins., 509 F.3d 673, 675 (5th Cir. 2007). The

court’s analysis must remain focused on whether the plaintiff has stated a claim upon which

relief can be granted, not on the plaintiff’s likelihood of success. Mann v. Adams Realty

Co., 556 F.2d 288, 293 (5th Cir. 1977). When the complaint includes factual content that

“allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged,” the claim has facial plausibility. Gonzalez v. Kay, 577 F.3d 600, 603

(5th Cir. 2009) (quoting Iqbal, 556 U.S. at 678). Relatedly, a motion to dismiss for lack of

subject matter jurisdiction under Rule 12(b)(1) will be granted only “if it appears certain

that the plaintiff cannot prove any set of facts in support of his claim that would entitle

plaintiff to relief.” Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001).

                                 LEGAL ARGUMENT
 I.       Plaintiffs Sufficiently Plead this Court’s Subject Matter Jurisdiction.

          a. Plaintiffs’ Allege Justiciable Racial Discrimination Claims.

       Defendants seek to rewrite Plaintiffs’ complaint—which states claims of racial

discrimination—to contend instead that Plaintiffs actually assert a nonjusticiable partisan

gerrymandering claim. But Plaintiffs, not Defendants, are the masters of their complaint,

and the Court should reject Defendants’ effort to invert this fundamental rule. Plaintiffs

assert racial gerrymandering and vote dilution claims under the Fourteenth Amendment,

Fifteenth Amendment, and Section 2 of the VRA. See SAC ¶¶ 170-84. These claims are

justiciable. Rucho v. Common Cause, 139 S. Ct. 2484, 2502 (2019); Miller v. Johnson, 515

U.S. 900 (1995); Shaw v. Reno, 509 U.S. 630 (1993); see also 52 U.S.C. § 10301, et seq.

                                             4
     Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 8 of 32




Such claims do not “ask for a fair share of political power and influence,” but rather for the

“elimination of a racial classification.” Rucho, 139 S. Ct. at 2502.

       Racial gerrymandering claims under the Fourteenth and Fifteenth Amendments

allege that “race was improperly used in the drawing of the boundaries of one or more”

political subdivisions. Ala. Legislative Black Caucus v. Alabama, 575 U.S. 254, 262–63

(2015); see also SAC ¶¶ 174-75. Likewise, intentional vote dilution claims under Section

2 of the Voting Rights Act and the Fifteenth Amendment allege that an “election practice

. . . is undertaken and maintained for a discriminatory purpose.” Fusilier v. Landry, 963

F.3d 447, 463 (5th Cir. 2020); see, e.g., Rice v. Cayetano, 528 U.S. 495 (2000); City of

Mobile v. Bolden, 446 U.S. 55 (1980) (plurality opinion); Gomillion v. Lightfoot, 364 U.S.

339 (1960); Veasey v. Abbott, 830 F.3d 216, 229 (5th Cir. 2016) (en banc), Perez v. Abbott,

390 F. Supp. 3d 803, 814 (W.D. Tex. 2019) (three-judge court); see also SAC ¶¶ 172-73,

183-84. Finally, results-based vote dilution under Section 2 alleges that, under the totality

of the circumstances, an election practice has the effect of “minimiz[ing] or cancel[ing] out

the voting strength of racial minorities in the voting population.” Thornburg v. Gingles,

478 U.S. 30, 47 (1986); see also SAC ¶¶ 176-77.

       Here, Plaintiffs allege that Defendants “finally succeeded in adopting the

discriminatory redistricting plan that the [DOJ] prevented it from adopting in 2012,” and

that the “2021 Commissioners Court plan would reduce the ability of Black and Latino

voters to elect their candidates of choice by intentionally dismantling a majority-minority

precinct and cracking Black and Latino voters across four precincts.” SAC ¶¶ 1, 6. The

Commissioners Court chose a plan that radically alters the Commissioner precincts to

                                              5
     Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 9 of 32




dismantle Precinct 3 and crack Galveston’s Black and Latino voters across all four

precincts. SAC ¶ 65. Plaintiffs allege this was done to intentionally dilute minority’s voting

strength. See, e.g., SAC ¶¶ 55, 68. The plan, design, and choice of map were the product

of intentionally discriminatory decision-making in which race predominated with no

compelling interest to justify it.

       Defendants do not dispute that racial gerrymandering and vote dilution claims are

justiciable. See Mot. at 10-12. Moreover, Defendants’ motion is void of any support

showing that Plaintiffs are making a partisan gerrymandering claim. This is because

Plaintiffs bring no such claim. Instead, Defendants attempt to repurpose Plaintiffs’ factual

allegations in support of their claim under Section 2 to instead describe a partisan

gerrymandering claim. But Defendants only prove that Plaintiffs sufficiently alleged a

Section 2 claim. Defendants contend that Plaintiffs allege partisan claims through their

claims that “Blacks and Latinos are cohesive because they vote for Democrats in the

general elections,” Mot. at 11 (citing SAC ¶ 124), and that “Anglo voters in Galveston

County overwhelmingly . . . favor Republican candidates,” Mot. at 11-12 (citing SAC ¶¶

126-127). These allegations, however, specifically support the Gingles preconditions

necessary to support a claim of racial discrimination under Section 2 of the Voting Rights

Act. See SAC ¶ 119. And courts in the Fifth Circuit have repeatedly held that a plaintiff

need not prove the distinction between race and partisanship “at the pleading stage.”

LULAC v. Abbott, No. 121CV1006RPJESJVB, 2022 WL 1631301, at *13, 20, 26 (W.D.

Tex. May 23, 2022) (three-judge court) (hereinafter LULAC II). Defendants offer no further

argument to support their contention, proving that their argument is nothing more than a

                                              6
    Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 10 of 32




nonsensical attempt to conflate partisan gerrymandering with racial discrimination.

Plaintiffs have asserted justiciable racial gerrymandering and vote dilution claims.

          b. The Appointment of Dr. Robin Armstrong Does Not Moot Plaintiffs’
             Claims.
       The recent appointment of an additional Black Commissioner, Dr. Robin

Armstrong,     does   not    moot    Plaintiffs’   claims.    Defendants     misrepresent—or

misunderstand—the harm Plaintiffs allege and the remedy sought. This appointment has

no impact on Plaintiffs’ claims.

       In a vote dilution claim, “it is the status of the candidate as the chosen representative

of a particular racial group, not the race of the candidate, that is important.” Citizens for a

Better Gretna v. City of Gretna, 834 F.2d 496, 503 (5th Cir. 1987) (citing Gingles, 478

U.S. at 69). Defendants have proffered no evidence that Dr. Armstrong is the candidate of

choice of Black and Latino voters and simply tout his racial identity as a Black man. See

Mot. at 14. On the other hand, Plaintiffs provide substantial factual allegations supporting

Commissioner Holmes’ status as the candidate of choice for Black and Latino voters since

his election in 1999. 1 See SAC ¶¶ 61-62, 80, 97, 123, 167.

       For the same reason, Defendants’ contention that, with the appointment of Dr.

Armstrong, “African American representation on the Commissioners Court is greater than



1
   Even assuming that Defendants’ racial classification—casting the two Black
Commissioners as candidates of choice merely because of their race—has any basis in fact,
Defendants’ argument that “African American representation on the Commissioners Court
is greater than the proportion of Black and Latino residents in Galveston County” ignores
Plaintiffs’ allegation that Commissioner Holmes will likely no longer represent Precinct 3
after the 2024 elections, precisely because of Defendants’ discriminatory efforts to remove
him. Mot. at 14; cf. SAC ¶ 80.
                                               7
          Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 11 of 32




the proportion of Black and Latino residents in Galveston County,” Mot. at 13-14, is

misplaced. While proportionality is a consideration as part of the totality of circumstances

analysis under the VRA, it is the proportion of minority opportunity districts that is

relevant—i.e., the number of districts in which minority voters can elect their candidate of

choice in relation to the number of minority voters jurisdiction-wide. See LULAC v. Perry,

548 U.S. 399, 426 (2006) (“Another relevant consideration is whether the number of

districts in which the minority group forms an effective majority is roughly proportional to

its share of the population in the relevant area.”). Defendants neither contend nor offer any

evidence to suggest that Dr. Armstrong is the candidate of choice of Black and Latino

voters in Galveston County, nor that there will be any district in which minority voters will

be able to elect their preferred candidate under the new plan. The Court must instead accept

as true Plaintiffs’ factual allegations, which state a claim that is live, not moot, regardless

of Dr. Armstrong’s appointment. 2

    II.        Plaintiffs Sufficiently Allege that they Have Standing to Assert Claims
               Under the Voting Rights Act.
            Defendants contend that Plaintiff Montez lacks standing to maintain a claim under

Section 2, and that without him, Plaintiffs’ coalition claim falls apart. That is wrong.

Plaintiff Montez does have standing to assert a Section 2 claim. Even if he did not, each of

the remaining Plaintiffs would still have standing to assert the claim. Ultimately,


2
  Even if the appointment of Dr. Armstrong did somehow moot Plaintiffs’ discriminatory
results claim under the VRA (it does not), Defendants do not contend that it would have
any effect on Plaintiffs’ racial gerrymandering claim or intentional racial discrimination
claims under the VRA, Fourteenth Amendment, or Fifteenth Amendment. Mot. at 13-14.
Their conclusion that his appointment moots the entire case is therefore baseless. See id.
                                                8
    Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 12 of 32




Defendants’ standing argument misconstrues the nature of Plaintiffs’ alleged harm and gets

them nowhere.

             a. Plaintiff Montez’s Standing Does Not Dispose of Plaintiffs’ Voting
                Rights Act Claims.
       The Court’s jurisdiction over Plaintiffs’ VRA claims does not hinge on the standing

of a single plaintiff: Even if Plaintiff Montez lacked standing, as Defendants incorrectly

claim, Mot. 17-19, it would not prove fatal to Plaintiffs’ claims. There is no dispute that a

plaintiff is an “aggrieved person” with standing to bring a claim under the VRA when the

plaintiff has “personally suffered race-based dilution of his vote—an injury that is both

concrete and particularized to him.” Vaughan v. Lewisville Indep. Sch. Dist., 475 F. Supp.

3d 589, 595 (E.D. Tex. 2020). Nor do Defendants contest that Plaintiffs Petteway, Rose,

James, and Pope allege such a harm. Rather, Defendants wrongly contend that these

Plaintiffs who otherwise would have established standing to bring suit under the VRA fail

to do so because their claim requires proving that there is a cohesive coalition of minority

voters of which they are a part. Besides misunderstanding the nature of coalition claims,

see infra, Defendants attempt to elide the well-established rule that “the presence of one

party with standing is sufficient to satisfy Article III’s case-or-controversy requirement.”

Texas v. U.S., 809 F.3d 134, 151 (5th Cir. 2015) (citing Rumsfeld v. Forum for Acad. &

Institutional Rights, Inc., 547 U.S. 47, 52 n.2 (2006)). Accordingly, if any one plaintiff has

standing to bring the claims in this suit, the motion to dismiss for lack of standing should

be denied.




                                              9
    Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 13 of 32




          b. Plaintiffs Have Standing to Sue on Behalf of the Black and Latino
             Coalition
       All Plaintiffs have standing to sue on behalf of the coalition of Black and Latino

voters. Defendants’ argument to the contrary misunderstands the nature of coalition claims

under Section 2 of the VRA. 3

       A coalition of two or more politically cohesive minority groups may seek relief

under Section 2. Applying Section 2 to protect minority coalitions is “necessary and

appropriate to ensure full protection of the Fourteenth and Fifteenth Amendments rights,”

because voting discrimination is just as problematic when it prejudices one minority group

as when it harms several. See Bush v. Vera, 517 U.S. 952, 992 (1996) (O’Connor, J.,

concurring). Accordingly, the Fifth Circuit has long recognized that racial minority groups

may form a coalition to seek relief under Section 2. See Campos v. City of Baytown, 840

F.2d 1240, 1244 (5th Cir. 1988); LULAC, Council No. 4386 v. Midland Indep. Sch. Dist.,

812 F.2d 1494 (5th Cir. 1987). As here, both groups in LULAC suffered voting

discrimination and resulting socioeconomic disparities, but even when they jointly tried to

overcome these inequities, white-bloc voting in the at-large system consistently defeated

their preferred candidates. Id. at 1496-99; see also SAC ¶¶ 123-24. Because the coalition



3
 Defendants raise a brief and misplaced objection to Plaintiffs' totality of the circumstances
evidence. Mot. at 28 n.9. Regarding Plaintiffs’ Section 2 claims, however, Defendants’
argument primarily rests on whether Plaintiffs meet the Gingles preconditions, and makes
no mention of the sufficiency of Plaintiffs’ well-pleaded allegations that “[t]he totality of
the circumstances illustrates that Black and Latino voters have less opportunity than other
voters to participate in the electoral process in Galveston County.” SAC ¶ 129; see
also 52 U.S.C. § 10301(b). “Because Defendants’ motion[] focus[es] [only] on the three
preconditions,” this Court should consider any arguments regarding the totality of the
circumstances as waived. LULAC II, 2022 WL 1631301, at *14.
                                             10
    Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 14 of 32




experienced the same discriminatory vote dilution injury and had “common social,

economic, and political interests which converge [to] make them a cohesive political

group,” they could jointly pursue their claims to achieve single-member districts. LULAC,

812 F.2d at 1501-03; see also SAC ¶¶ 131-159.

       Defendants misunderstand the nature of coalition claims and Plaintiffs’ standing to

bring these claims. The VRA defines the class of citizens who can sue as a class in which

the “members have less opportunity than other members of the electorate to participate in

the political process and to elect representatives of their choice.” 52 U.S.C. § 10301(b).

The text demonstrates that the shared disadvantage based on “race or color” defines the

protected class, not the racial or ethnic commonality of the group. Therefore, the Black

plaintiffs in this case are not, as Defendants claim, alleging “harm on the Latino community

by proxy.” Mot. at 17. Rather, Plaintiffs are alleging their own harm as members of the

protected class and are seeking to vindicate their own rights.

       Likewise, Defendants wrongfully conflate the standards to assess Plaintiffs’

standing to bring a VRA claim and the merits of such a claim. See LULAC II, 2022 WL

1631301, at *7 (“[T]he question of standing is quite separate from the question of

remedy.”). That is, they ask the Court to assume that Black and Latino voters do not form

a cohesive class of voters and instead must be separately represented by race among the

Plaintiff group. This is improper: the standard of political cohesion under Gingles “sets out

a threshold evidentiary burden, not a proxy test for standing.” Kumar v. Frisco Indep. Sch.

Dist., 476 F. Supp. 3d 439, 463 (E.D. Tex. 2020). Plaintiffs’ allegation of a single, cohesive

class of Black and Latino voters must be accepted as true, and each Plaintiff has standing

                                             11
    Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 15 of 32




as a member of the coalition to put forth evidence of political cohesion at a later stage. Id.

(recognizing that “Gingles is not requiring a plaintiff to assert the rights of other unnamed

parties, but rather requiring a plaintiff to offer evidence establishing a minority coalition to

which he or she belongs”).

       Plaintiffs Petteway, Rose, James, and Pope have properly alleged that they have

personally suffered the concrete and particularized injury of race-based vote dilution. Each

Plaintiff accordingly has standing to bring their claim under the VRA and, even if this court

finds that Plaintiff Montez lacks standing, Plaintiffs’ Voting Rights Act claim must be

allowed to proceed.

           c. Plaintiff Montez Has Standing.
       Plaintiff Montez has standing to assert claims under the Voting Rights Act. Under

the VRA, “an aggrieved person” may institute a proceeding to enforce their right to vote.

52 U.S.C.A. § 10302; Allen v. State Bd. of Elections, 393 U.S. 544 (1969). “Any person

who meets the requirements of constitutional standing is an ‘aggrieved person’ and also

meets statutory standing requirements under the VRA.” Vaughan, 475 F. Supp. 3d at 594.

       The U.S. District Courts of both Western and Northern Texas have held that

“plaintiffs who reside in a reasonably compact area that could support an additional

minority opportunity district have standing to pursue § 2 claims, even if they currently

reside in an opportunity district.” Perez v. Abbott, 267 F. Supp. 3d 750, 775 (W.D. Tex.

2017), aff’d in part, rev’d in part, Abbott v. Perez, 138 S. Ct. 2305 (2018); Harding v. Cnty.

of Dallas, 2018 WL 1157166, at *6 (N.D. Tex. Mar. 5, 2018). Plaintiff Montez resides in

Precinct 1 of the Benchmark Plan. SAC ¶¶ 22-25. As Plaintiff Montez alleges, the Enacted

                                              12
       Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 16 of 32




Map relies on the packing and cracking of Black and Latino voters across all four

Commissioner precincts, including where Montez resides. See SAC ¶ 117. Plaintiff Montez

has standing to pursue a Section 2 claim because it is possible to create an additional

opportunity district where he resides. Cf. LULAC II, 2022 WL 1631301, at *11 (holding

that a plaintiff who “resides in an area where a Gingles district should have been drawn . .

. has plausibly alleged standing at this early stage.”). The injury in a Section 2 case is

packing and/or cracking; regardless of whether a plaintiff is packed in an unnecessarily

high performing district or, as here, cracked into Anglo-dominated districts, he has an

injury for which he has standing to sue. Plaintiff Montez has standing to bring a claim

under the Voting Rights Act as a result of his membership in the Black and Latino coalition

whose rights are being abridged by the Enacted Plan and the vindication of whose rights

will require a wholesale restructuring of the Commission map.

III.        Plaintiffs Sufficiently Allege Intentional Racial Discrimination Under the
            Fourteenth and Fifteenth Amendments and the Voting Rights Act.
         Plaintiffs’ complaint is replete with factual allegations which, taken as true, support

an inference that the Commissioners Court plan was drawn, at least in part, to disfavor

minority voters. Intentional racial discrimination violates both Section 2 of the VRA and

the Fourteenth and Fifteenth Amendments. See, e.g., Landry, 963 F.3d at 463. To state an

intentional discrimination claim, “racial discrimination need only be one purpose, and not

even a primary purpose” of the challenged plan. Veasey, 830 F.3d at 230 (quoting United

States v. Brown, 561 F.3d 420, 433 (5th Cir. 2009)). “[I]ndirect circumstantial evidence,




                                               13
    Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 17 of 32




including the normal inferences to be drawn from the foreseeability of defendant’s actions

may be considered.” Brown, 561 F.3d at 433 (quotation marks omitted).

       Accordingly, “[d]etermining whether invidious discriminatory purpose was a

motivating factor demands a sensitive inquiry into such circumstantial and direct evidence

as may be available.” Village of Arlington Heights v. Metropolitan Housing Development

Corp., 429 U.S. 252, 266 (1977). “The impact of the official action . . . provide[s] an

important starting point.” Id. (quoting Washington v. Davis, 426 U.S. 229, 242 (1976)).

From there, Courts consider “five nonexhaustive factors to determine whether a particular

decision was made with a discriminatory purpose”: (1) “the historical background of the

decision,” (2) “the specific sequence of events leading up to the decision,” (3) “departures

from the normal procedural sequence,” (4) “substantive departures,” and (5) “legislative

history . . . .” Veasey, 830 F.3d at 231 (quotation marks omitted); see Arlington Heights,

429 U.S. at 267-68. Evidence of “race-based hatred or outright racism, or that any

particular legislator harbored racial animosity or ill-will toward minorities because of their

race,” is not required. Perez v. Abbott, 253 F. Supp. 3d 864, 948 (W.D. Tex. 2017).

       At the motion to dismiss stage, alleging a subset of the Arlington Heights factors is

sufficient to state a claim of intentional discrimination. See, e.g., LULAC II, 2022 WL

1631301, at *26. In LULAC II, the court considered four plaintiff groups’ intentional

discrimination allegations and permitted each claim to proceed. Id. at *26-27. The court

deemed DOJ’s claim plausible because it alleged the defendant “split precincts unevenly

based on race,” and redrew districts “that were deemed intentionally discriminatory in the

previous redistricting cycle.” Id. at *13. Similarly, the first organizational plaintiff’s claims

                                               14
    Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 18 of 32




satisfied the motion to dismiss standard because it alleged “minority legislators were

treated unfavorably” and “the legislature adopted procedures that made it difficult for non-

English speaking members of the public to participate.” Id. at *26. The second

organizational plaintiff’s complaint “crosse[d] the line” because it alleged discriminatory

effects coupled with procedural irregularities in the legislative process. Id. Finally, the third

organizational plaintiff’s complaint was “sufficient” based on its allegations of

discriminatory acts in the prior redistricting cycle and consideration of racial effects in the

challenged plan’s legislative history. Id.

       Plaintiffs’ allegations here are even stronger than each of the successful claims in

LULAC II.

           a. The Commissioners Court Plan is Intentionally Discriminatory.

       Defendants ask the Court to draw inferences in Defendants’ favor, contrary to the

motion to dismiss standard under which Plaintiffs’ allegations plainly support an inference

of intentional discrimination. Applying the Arlington Heights framework, Plaintiffs’

allegations easily satisfy the lenient pleading standard applicable on a motion to dismiss.

       First, the dismantling of Precinct 3 bears more heavily on minority voters than on

Anglo voters. Galveston County’s minority population increased from 33.2% to 35.5% of

total population between 2010 and 2020. SAC ¶ 52. Nevertheless, the 2021 redistricting

plan eliminates the County’s only majority-minority Commissioners Court precinct,

cracking minority voters across all four precincts and ensuring that—despite their increased

share of the total population—they are no longer a majority in any Commissioners Court

precinct. SAC ¶¶ 121-22. There can be “little question that dismantling” a performing

                                               15
    Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 19 of 32




precinct has “a disparate impact on racial minority groups.” Texas v. United States, 887 F.

Supp. 2d 133, 163 (D.D.C. 2012), vacated on other grounds, 133 S. Ct. 2885 (2013). And

the Commission knew that the new plan would eliminate the County’s only majority-

minority district. See, e.g., SAC ¶¶ 78, 134. Although not dispositive, the “foreseeability”

of this consequence supports “a strong inference” that the Commission intended the Plan

to have “adverse effects” on minority voters. Personnel Adm’r of Mass. v. Feeney, 442

U.S. 256, 279 n.25 (1979). Defendants do not contend otherwise. Mot. at 23-29.

       Second, the historical background and legislative history corroborate “the normal

inferences” that flow “from the foreseeability of defendant’s actions.” Brown, 561 F.3d at

433 (quoting McMillan v. Escambia Cnty., 748 F.2d 1037, 1047 (5th Cir. 1984)). In 2021,

Defendants adopted “materially the same” map that they proposed in 2011. SAC ¶ 72-77,

134. The County was subject to preclearance at the time, however, and DOJ refused to

preclear the map because it would have caused unnecessary retrogression and was

accompanied by several indicia of the Commission’s “discriminatory purpose.” SAC ¶¶

34-43. DOJ ultimately obtained a permanent injunction blocking the County from

implementing the plan and requiring it to adopt an alternative map that preserved Precinct

3’s majority-minority population. SAC ¶¶ 2-4, 44-46. The current plan is a transparent

attempt to revive the plan a three-judge panel in this District enjoined a decade ago. See

Petteway v. Henry, 3:11-cv-00511, 2012 WL 12877651 (S.D. Tex. May 22, 2012), ECF

No. 69. As in LULAC II, this is powerful evidence that the County remains intent on

discriminating against minority voters. LULAC II, 2022 WL 1631301, at *13.



                                            16
    Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 20 of 32




       Despite the LULAC II court’s explanation that redrawing lines “deemed

intentionally discriminatory in the previous redistricting cycle” supports an inference of

discriminatory intent, id., Defendants downplay the plan’s sordid history by invoking

Marbury v. Madison to remind this Court that DOJ’s intentional discrimination finding

“does not bind this Court to find that the 2021 Commissioners Court map is an

unconstitutional intentional vote dilution under the Fourteenth Amendment,” Mot. at 25.

Marbury is beside the point. As the Supreme Court explained long ago in Arlington

Heights, the “historical background of the decision is” an “evidentiary source” that is useful

“circumstantial” evidence of “discriminatory purpose.” Arlington Heights, 429 U.S. at 266-

67 (emphasis added). Thus, even a prior determination that is “not legally binding . . . does

not undo the historical significance” of prior actions and is “damning[]” evidence of

discrimination. LULAC v. Abbott, No. 121-CV-991-LY-JES-JVB, 2022 WL 1410729, at

*18 (W.D. Tex. May 4, 2022) (hereinafter LULAC I). Plaintiffs invoke the prior finding as

circumstantial evidence that, by mimicking a plan DOJ “deemed intentionally

discriminatory in the previous redistricting cycle,” the 2021 Commission acted, at least in

part, for the purpose of disfavoring minority voters. LULAC II, 2022 WL 1631301, at *13.

The “proximity and comparability” of the two plans are “a close match” that “weighs in

favor of an inference of discriminatory intent.” LULAC I, 2022 WL 1410729, at *18.

       Third, the specific sequence of events preceding the dismantling of Precinct 3

suggest it was implemented with discriminatory intent. The 2021 redistricting cycle picked

up where the 2011 cycle left off. The Commission hired the same lawyers, drew the same

discriminatory map, and eschewed formal redistricting guidelines just as it did a decade

                                             17
    Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 21 of 32




before. SAC ¶¶ 69, 71, 134. It stalled until November 9, 2021, to release map proposals,

and did not hold a public meeting to solicit input on its proposals until November 13—the

day before the County’s deadline to adopt a map. SAC ¶¶ 70, 84-85. Throughout the

process, the lone Black Commissioner, and majority-minority precinct representative,

Stephen Holmes, was completely excluded. SAC ¶¶ 95-99. The Commission did not permit

him to provide input on the proposed maps, allowed him to meet with the County’s lawyer

only once, kept him in the dark about publicizing redistricting proposals, and refused to

vote on his proposed maps. SAC ¶¶ 95-102.

       The Commission’s hearing on the map confirmed its objective of rushing through a

discriminatory map without meaningful public feedback. In the sole meeting it held during

the redistricting process, the Commission failed to provide microphones to facilitate public

input and interaction between Commissioners and constituents. SAC ¶¶ 89-90. Still,

members of the minority community testified that the maps were racially discriminatory,

and Commissioner Holmes presented evidence on racially polarized voting in Galveston

County to illustrate how the new map would affect minority voters. SAC ¶¶ 94, 100. Judge

Henry greeted this input by threatening to “clear . . . out” members of the public who

attempted to participate and reminding the public “I’ve got constables here!” to substantiate

the threat. SAC ¶¶ 92-93. This sequence of events, including the evidence that “minority

legislators” and their constituents “were treated unfavorably,” is probative of the

Commission’s intent to discriminate against minority voters. LULAC II, 2022 WL

1631301, at *26.



                                             18
    Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 22 of 32




       Defendants do not contest most of this troubling sequence of events except to offer

the conclusory assertion that “Commissioner Holmes was not prohibited from participating

in the redistricting process.” Mot. at 28. Defendants deem it irrelevant that the Commission

excluded Commissioner Holmes from providing input on the proposed maps, participating

in the map-drawing process with the County’s lawyers, and publicizing map proposals

because he retained “the legal authority to place redistricting on the agenda at any of the

regularly scheduled meetings.” Mot. at 28. However, when Commissioner Holmes

exercised his legal authority to propose nondiscriminatory maps, the Commission refused

to even call them for a vote. SAC ¶¶ 101-02. Defendants attempt to contradict Plaintiffs’

factual assertions with respect to Commissioner Holmes underscore the veracity of

Plaintiffs’ factual allegations—not their insufficiency.

       Fourth, Plaintiffs allegations of substantive and procedural departures from the

ordinary redistricting process provide further evidence of discriminatory intent. Until the

County began pressing for discriminatory maps in 2011, it traditionally held a series of

public hearings on redistricting, scheduled early in the process, hosted in locations across

the County, and timed to accommodate ordinary working schedules. SAC ¶¶ 81-83. In

2021, by contrast, the Commission held only one hearing, which it delayed until the day

before the redistricting deadline, hosted in a remote and undersized location, and scheduled

in the middle of the workday. SAC ¶¶ 84-88.

       Here again, Defendants do not contend that Plaintiffs’ allegations are insufficient to

state a claim but instead dispute whether they are true. According to Defendants, there was

“nothing unusual about the timing of the” Commission’s redistricting hearing and the

                                             19
    Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 23 of 32




meeting’s midday timing was “consistent with the County Commissioners Court’s normal

and usual practice.” Mot. at 26-27. This is at loggerheads with Plaintiffs’ allegations that,

for the reasons described above, the “2021 Galveston County redistricting process featured

significant departures from procedural norms, similar to the 2011 redistricting process.”

SAC ¶ 81. That tension renders Defendants’ contention futile for purposes of its motion to

dismiss: “the Court must accept all” Plaintiffs’ “factual allegations as true at the motion-

to-dismiss stage; the time” for Defendants “to dispute their truth is at summary

judgment”—not here. LULAC II, 2022 WL 1631301, at *26.

       After asserting that the redistricting process followed “usual practice,” Defendants

make an about face and seem to concede that the redistricting process was a “departure

from normal practice.” Mot. at 26-27. But they contend the Court should excuse these

departures because “the whole world had to depart from its normal routines and past

practices due to COVID-19.” Mot. at 28. To be sure, as a general matter, “the COVID–19

pandemic provides an obvious alternative explanation for [a] rushed redistricting process.”

LULAC II, 2022 WL 1631301, at *26. It seems unlikely that is true here, however, where

the Commission redeployed the same procedural gambits it employed a decade ago—well

before the onset of the pandemic. SAC ¶¶ 81-82. It also fails to explain the hearing’s

inaccessible location, inadequate space, or inconvenient timing. See id. at ¶¶ 84-90. And in

any event, inferences must be drawn in Plaintiffs favor at this stage of the proceedings—

not Defendants’.

       Ultimately, Defendants’ Motion greets Plaintiffs’ claims of intentional racial

discrimination by ignoring, disputing, or drawing their own favorable inferences from

                                             20
    Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 24 of 32




Plaintiffs’ factual allegations—not by disputing their sufficiency. They are welcome to

raise these arguments again at “summary judgment,” but here the Court accepts Plaintiffs’

allegations as true and construes all inferences in Plaintiffs’ favor. LULAC II, 2022 WL

1631301, at *26. Plaintiffs’ complaint is more than sufficient under that standard.

          b. The Fifteenth Amendment Prohibits Intentional Racial Discrimination.

       In addition to their claims under the Fourteenth Amendment and Voting Rights Act,

Plaintiffs allege an intentional racial discrimination and intentional vote dilution claim

under the Fifteenth Amendment. Defendants contend, however, that “there is no cause of

action for intentional vote dilution under the Fifteenth Amendment.” Mot. at 23. But the

Supreme Court and Fifth Circuit have both long-recognized that an “election practice

violates Section 2 and the Fourteenth and Fifteenth Amendments if it is undertaken and

maintained for a discriminatory purpose.” Fusilier v. Landry, 963 F.3d 447, 463 (5th Cir.

2020); see, e.g., Rice v. Cayetano, 528 U.S. 495 (2000); City of Mobile v. Bolden, 446 U.S.

55 (1980) (plurality opinion); Gomillion v. Lightfoot, 364 U.S. 339 (1960); Veasey v.

Abbott, 830 F.3d 216, 229 (5th Cir. 2016), Perez v. Abbott, 390 F. Supp. 3d 803, 814 (W.D.

Tex. 2019) (three-judge court). Indeed, the Supreme Court has specified that if “a State

intentionally drew district lines in order to destroy otherwise [performing] districts, that

would raise serious questions under both the Fourteenth and Fifteenth Amendments.”

Bartlett v. Strickland, 556 U.S. 1, 24 (2009) (plurality opinion). In line with this precedent,

a three-judge court in this Circuit recently applied the Arlington Heights factors to an

intentional racial vote dilution claim under the Fifteenth Amendment. LULAC I, 2022 WL

1410729, at *8-9. That understanding is consistent with the Supreme Court’s decision in

                                              21
      Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 25 of 32




Voinovich v. Quilter—the ultimate authority on which Defendant’s assertion rests, Mot. at

23—which denied a vote dilution claim under the Fifteenth Amendment only because the

plaintiffs failed to prove the “intentional discrimination” element of the claim. 507 U.S.

146, 159 (1993). And it would flatly repudiate the text, history, and purpose of the Fifteenth

Amendment to conclude that the Amendment granting minority voting rights permits

intentional racial discrimination in a state’s election practices.

IV.        Plaintiffs Sufficiently Allege that Commissioner Precinct 3 is Racially
           Gerrymandered.
        Like Plaintiffs’ allegations of intentional racial discrimination, Plaintiffs’ racial

gerrymandering allegations carry their claims comfortably “across the line” at this early

stage of litigation. LULAC II, 2022 WL 1631301, at *27 (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). Recognizing this, Defendants’ principal response to

Plaintiffs’ racial gerrymandering claim is that Plaintiffs failed to identify District 3 as the

gerrymandered district. Mot. at 20-21. As a fallback, they contend Plaintiff’s allegations of

racial gerrymandering are insufficient. Mot. at 21-22. Both arguments are meritless.

           a. The Commissioners Court Plan is a Racial Gerrymander.

        Plaintiffs’ racial gerrymandering claim is closely related to their intentional racial

discrimination claim. Although the claims are “analytically distinct,” the central difference

between the two claims at this stage is quantitative—not qualitative: “the types of evidence

that would allow either claim to succeed are largely the same.” LULAC II, 2022 WL

1631301, at *27. A Plaintiff who has “nudged their claims [of intentional discrimination]

across the line” also succeeds in pleading racial gerrymandering when they allege that the


                                              22
    Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 26 of 32




intentional discrimination amounted to “the predominant factor” motivating the plan. Id.

(first quoting Twombly, 550 U.S. at 570; and then quoting Miller, 515 U.S. at 915).

       As discussed in detail above, Defendants intentionally adopted the enacted plan to

disfavor minority voters. Supra, at Part III.a. The map mimics the plan DOJ rejected as

intentionally discriminatory just a decade ago, which the Commission knew would

eliminate the County’s only minority-opportunity district but nevertheless rushed through

the redistricting process without input from the public or only minority Commissioner. Id.

Indeed, the plan was not motivated merely in part by racial discrimination—intentional

discrimination is the only explanation for the Commission’s actions. See, e.g., SAC ¶¶ 67-

68, 112-14. The Commission “did not provide any analysis on their map to explain their

districting choices.” SAC ¶ 115. And shifting only one voting tabulation district would

have remedied the prior plan’s malapportionment and kept Precinct 3’s majority minority

population intact, yet the “enacted plan radically alters the Commissioner precincts,

dismantling Precinct 3 and cracking its Black and Latino voters across all four precincts.”

SAC ¶¶ 63-68; compare SAC ¶ 59 with SAC ¶ 65. Racial considerations are the only

explanation for the Commission dramatically reconfiguring the court-approved plan and

replacing it with the discriminatory plan it tried, and failed, to adopt last cycle. Plaintiffs’

claim that the Commission used race as the predominant tool driving its redistricting

decisions is well-pled.

       Defendants seek to skirt Plaintiffs’ extensive allegations that race was the

Commission’s predominant redistricting criterion by claiming that Plaintiffs must allege

the challenged “precinct is not compact, divides communities of interest, is not contiguous,

                                              23
    Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 27 of 32




[] does not respect political subdivision lines” or is bizarrely shaped. Mot. at 21-22. That

is not the law. “[A] conflict or inconsistency between the enacted plan and traditional

redistricting criteria is not a threshold requirement or a mandatory precondition in order

for a challenger to establish a claim of racial gerrymandering.” Bethune-Hill v. Va. State

Bd. of Elections, 137 S. Ct. 788, 799 (2017). As the Supreme Court has explained, a

“plaintiff’s burden is to show, either through circumstantial evidence of a district’s shape

and demographics or more direct evidence going to legislative purpose, that race was the

predominant factor motivating the legislature’s decision.” Miller, 515 U.S. at 916. Thus,

“an intentional vote dilution and a Shaw claim . . . are not mutually exclusive, and the

[same] allegations are sufficient to support both types of claims.” Perez, 253 F. Supp. 3d

at 893 n.29. Even Defendants seem to recognize this, acknowledging that none of the

allegations they claim Plaintiffs’ complaint lacks is “a necessary element to a racial

gerrymandering claim.” Mot. at 21. Defendants’ attempt to rewrite the law betrays their

recognition that Plaintiffs’ intentional discrimination allegations are sufficient to state a

claim on both counts.

       Still more, Plaintiffs’ complaint does contain allegations of Precinct 3’s “shape and

demographics” on top of the allegations of “legislative purpose” already discussed. Miller,

515 U.S. at 916. The complaint supplies comprehensive data illustrating how the enacted

plan eliminates the 61.7% CVAP majority in Precinct 3 and replaces it with a plan in which

minority CVAP is less than 40% in each precinct. SAC ¶¶ 120-21; see also SAC ¶¶ 107-

09. The complaint also depicts both the former and enacted maps, illustrating how the new

plan unnecessarily and “radically alters the Commissioner precincts,” and including

                                             24
    Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 28 of 32




shading to highlight racial demographics in each district. SAC ¶¶ 59, 65. And to be clear,

Plaintiffs do allege that intentional discrimination so thoroughly “controlled and

dominated” the Commission’s redistricting objectives that “[r]ace was the predominate

consideration in the drawing of district lines” and “subordinate[d] traditional redistricting

principles in the enacted . . . plan.” SAC ¶¶ 111-12, 116. Under any rubric of racial

gerrymandering, Plaintiffs’ claim is well-pled.

          b. Plaintiffs’ Racial Gerrymandering Claim Satisfies the Notice Pleading
             Standard.
       A plaintiff alleging a racial gerrymandering claim may assert either that “every . . .

district in a” jurisdiction “suffers from racial gerrymandering” or that “the boundaries of

individual districts” are tainted by racial gerrymandering. Ala. Legislative Black Caucus,

575 U.S. at 263. In this case, Plaintiffs have alleged that racial considerations predominated

in the drawing of the Enacted Plan as a whole and in the construction of Precinct 3

specifically. The Commission’s consideration of race predominated both in its dismantling

of benchmark Precinct 3 as a performing minority opportunity district, and in its cracking

of minority voters across all four districts. See SAC ¶¶ 34-169. Thus, each plaintiff has

standing to challenge the Enacted Plan as a racial gerrymander, and even if they did not,

Plaintiffs Pope and James, who reside in Precinct 3, still would.

       To start, Plaintiffs allege that “every . . . district in” the Enacted Plan “suffers from

racial gerrymandering.” Ala. Legislative Black Caucus, 575 U.S. at 263; e.g., SAC ¶ 171.

The Commissioners Court represents only four precincts. To dismantle Precinct 3 as a

majority-minority precinct, Defendants had to elevate racial criteria not only in their


                                              25
    Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 29 of 32




reconfiguring of Precinct 3, but also in their careful dispersion of minority voters across

the remaining three precincts. See SAC ¶¶ 65, 67, 68, 112. The precision with which they

did so is evident: minority CVAP now hovers between 34% and 39% in all four districts—

just low enough to prevent minority voters from electing their candidate of choice in any

district but just high enough to prevent minorities from approaching a majority in any one

precinct. SAC ¶ 109. The plaintiffs cracked into Precincts 1 and 2 for the purpose of

dismantling Precinct 3 are victims of the harm that flows from “racial classification” just

as surely as are the plaintiffs residing in Precinct 3. Mot. at 20 (quoting Ala. Legislative

Black Caucus, 575 U.S. at 263).

       Defendants’ reliance on Alabama Legislative Black Caucus and Hays only confirms

the point. Mot. at 20-21. In Alabama Legislative Black Caucus, the Court held that the

plaintiffs’ claims must be limited to specific districts, rather than the state as a whole,

because “the District Court found that racial criteria had not predominated in the drawing

of some Alabama districts.” 575 U.S. at 263. Thus, the entire plan did not “suffer[] from

racial gerrymandering.” Id. at 263. Here, in contrast, Plaintiffs do allege that racial criteria

predominated in “every” district, so the Court is free to consider the map as a whole. Id.

The same is true of Hays, in which the plaintiffs similarly provided evidence that race

predominated in the drawing of only some—but not all—of the plan’s districts. United

States v. Hays, 515 U.S. 737, 745-46 (1995). Plaintiffs’ claims here suffer no such

shortcoming.

       Even if Plaintiffs were limited to challenging only a single district within the plan

(they are not), they would have satisfied the notice pleading standard. A three-judge court

                                              26
    Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 30 of 32




in this Circuit recently explained that a complaint need only “refer to” the challenged

districts to provide adequate “notice” of a racial gerrymandering claim. LULAC II, 2022

WL 1631301, at *27. Applying that lenient standard, it permitted racial gerrymandering

claims to advance based only on passing references to the relevant districts. See id.; MALC

First Am. Compl., ¶¶ 229, 231, LULAC v. Abbott, 3:21-cv-00259-DCG-JES-JVB, ECF No.

247 (W.D. Tex. Apr. 22, 2022). Here, however, Plaintiffs identify District 3 as the principal

“electoral district[],” Ala. Legislative Black Caucus, 575 U.S. at 263, at issue on nearly

every page of their complaint, see SAC ¶¶ 35, 42, 56, 57, 60, 65, 72, 73, 75, 80, 101, 107,

108, 110, 133, 171, 173, 184. Indeed, Plaintiffs reiterate throughout their complaint that

the crux of their claims is the “intentional dismantling of Precinct 3 as a performing

majority-minority precinct through the cracking of Black and Latino voters.” SAC ¶¶ 171,

173, 184 (emphasis added); see also SAC ¶¶ 65, 75 (variations of same). These recitations

satisfy the notice pleading standard, and Plaintiffs Pope and James, as residents of Precinct

3, have standing to maintain them. 4




4
 Defendants also add that Plaintiffs failed to state a claim because “they failed to plead
any facts that race and not political preferences predominated the reasons for the placement
of the precinct boundaries.” Mot at 22-23 n.8. Putting aside this mischaracterization of
Plaintiffs’ allegations—which are entirely focused on race, not party—Plaintiffs need not
prove the distinction at this stage in the proceedings. See, e.g., LULAC II, 2022 WL
1631301, at *26.

                                             27
    Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 31 of 32




                                      CONCLUSION

       Because Plaintiffs sufficiently plead the allegations in their Second Amended

Complaint, Plaintiffs respectfully request that this Court deny Defendants’ Motion to

Dismiss. 5

Respectfully submitted this 29th day of June, 2022.



                                                /s/ Chad Dunn
Mark P. Gaber*                                  Chad W. Dunn (Tex. Bar No. 24036507)
Simone Leeper*                                  Brazil & Dunn
Valencia Richardson*                            4407 Bee Cave Road
Orion de Nevers**                               Building 1, Ste. 111
Campaign Legal Center                           Austin, TX 78746
1101 14th St. NW, Ste. 400                      (512) 717-9822
Washington, DC 20005                            chad@brazilanddunn.com
(202) 736-2200
mgaber@campaignlegal.org                        Neil G. Baron
cjackson@campaignlegal.org                      Law Office of Neil G. Baron
sleeper@campaignlegal.org                       1010 E Main Street, Ste. A

5
  Contrary to Defendants’ assertions, a dismissal with prejudice would be improper here.
This is Plaintiffs’ first opportunity to respond to a Motion to Dismiss. Furthermore,
Defendants failed to give adequate notice of the scope of their defenses per this Court’s
standing order. See Galveston District Court Rules of Practice at 3-4. On May 11, 2022,
Defendants notified Plaintiffs of their intent to file a motion to dismiss Plaintiffs’ First
Amended Complaint. See Doc. 39-1. In their notice, Defendants failed to identify several
jurisdictional defenses they now make in their Motion to Dismiss, including Defendants’
challenge to Plaintiffs’ standing under the Voting Rights Act and to Plaintiffs’ ability to
bring vote dilution claims under the Fifteenth Amendment. Defendants’ failure to provide
adequate notice of all their defenses, per this Court’s order, denies Plaintiffs a “fair
opportunity to make [their] case.” See Schiller v. Physicians Res. Grp. Inc., 342 F.3d 563,
566-67 (5th Cir. 2003) (“In deciding whether to grant leave to amend, the district court
may consider a variety of factors in exercising its discretion . . . .”); see also Williams v.
Morris, 614 F. App’x 773, 774 (5th Cir. 2015) (“[W]hen a complaint is dismissed for lack
of jurisdiction, including lack of standing, it should be without prejudice.”). Thus, while
Plaintiffs maintain that they sufficiently pled their claims under Rules 8 and 12, if this
Court grants any part of Defendants’ Motion to Dismiss it should grant Plaintiffs leave to
amend their complaint.
                                             28
    Case 3:22-cv-00057 Document 53 Filed on 06/29/22 in TXSD Page 32 of 32




vrichardson@campaignlegal.org               League City, TX 77573
odenevers@campaignlegal.org                 (281) 534-2748
                                            neil@ngbaronlaw.com
Sonni Waknin*
Bernadette Reyes*
UCLA Voting Rights Project
3250 Public Affairs Building
Los Angeles, CA 90095
Telephone: 310-400-6019
sonni@uclavrp.org

*admitted pro hac vice
**admitted pro hac vice; licensed to
practice in CA only, supervised by Mark
Gaber, a member of the D.C. bar

Counsel for Petteway Plaintiffs


                               CERTICATE OF SERVICE

I HEREBY CERTIFY that on June 29, 2022, the foregoing document was filed
electronically (via CM/ECF), and that all counsel of record were served by CM/ECF.

                                                     /s/ Chad Dunn
                                                     Counsel for Petteway Plaintiffs




                                          29
